Case 2:10-md-02179-CJB-DPC Document 6184-4 Filed 04/05/12 Page 1 of 1

PARISH OF Sk. Seha the Sa phy

STATE OF LOUISIANA

AFFIDAVIT OF MALCOLM ALPHONSE COCO. HI
BEFORE ME, THE UNDERSIGNED AUTHORITY, personally came and appeared
MALCOLM ALPHONSE COCO, il], who, after being duly sworn by me stated that:

1. fam over eighteen years of age and competent to provide this affidavit.

2. lam the Malcolm Alphonse Coco, I] who has a case (1! ~cy-946) in the BP multi district
litigation concerning injuries I received as a result of working on a Vessel of Opportunity
after the spill. .

[ and the other workers on the boat | worked un were exposed to the Corrextt used to
disperse/clean up the spill (as well as the crude oil itself} both when it was dropped directly
on us and after it fell in the water and was bumed along with crude oil.

4. Neither I nor the other workers on the boat were provided any respiratory or hazardous
materials clothing or protection for use while cleaning up the spill and burning the ail and
Correxit which we inhaled.

Had we been offered, suggested to or told to wear such clothing and/or equipment | would
have done so, In fact, after being so exposed to the Correxit, crude oil and burning materials |
became concerned that it may affect my health.

6. The statements | made to Dr. Williams contained in her April 18, 2011 toxicology report are

accuraie,
o iF =

Malcolm Alphonse Coco, {It”

fad

WAY

Sworn to and Subscribed before me,

This 5” day of Abe ie , 2012

Notary Public
Ny Commission is for life.

Matthew B. Mace Jjad M3bcy Bsoiic
La, Bar #24507
Altorney-at-Law
My commission is for life,

cxhibt “D
